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     Amrane Cohen, Chapter 13 Trustee
 1   Brian D. Wirsching (SBN 189491)
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 2   Orange, CA 92868
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 3   Office e-mail: efile@ch13ac.com
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 4

 5
                                  UNITED STATES BANKRUPTCY COURT
 6
                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 7
     In re:                                           Case No.: 8:22-bk-10032-ES
 8

 9   RICKY DEAN WINTERS                               Chapter 13

10                                                    CHAPTER 13 TRUSTEE’S OPPOSITION TO
                                                      DEBTOR’S MOTION TO STRIKE
11                                                    SUPPLEMENTAL OBJECTION
12                                                   Hearing Information as Noticed [Docket 61]:
                                                     Date:       June 21, 2022
13                                                   Time:        1:30 pm
                                           Debtor(s) Courtroom:   5A
14                                                   Address:     411 West Fourth Street,
                                                                  Santa Ana, CA 92701
15

16            Amrane Cohen, Chapter 13 Trustee (“Trustee”) opposes Debtors Motion to Strike Supplemental

17   Objection [Docket No. 61] (the Motion to Strike”)
18            NOTICE IS GIVEN that any reply to this objection must be in writing, filed with the Court,
19
     and served upon the Trustee not later than seven (7) calendar days prior to the hearing. Unless the
20
     Court finds good cause, a reply document not timely filed and served may not be considered.
21
              The Trustee has a duty under 11 U.S.C. § 1302(b)(2) to “appear and be heard at any hearing that
22
     concerns … confirmation of a plan.” While the Trustee routinely files written objections to plan
23

24   confirmation within fourteen days prior to the confirmation hearing, the filing and service provision in

25   Local Bankr. Rule 3015-1(g)(1) cannot and does not trump the express duty imposed upon the Trustee

26   under § 1302(b)(2) to appear and be heard. The Trustee files written objections to confirmation for the


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     convenience of the Court and the parties. Further, Local Bankr. Rule 3015-1(g)(3) makes waiver of
 1

 2
     issues discretionary. The Motion to Strike should be overruled.

 3          Debtor’s evidentiary objections miss the form and purpose of the Trustee’s supplemental

 4   objection regarding 11 U.S.C. § 1325(a)(4). The Trustee’s primary objection is that Debtor’s Schedule
 5   A/B is completely missing paragraphs 38 through 45. Not blank or incomplete … but missing. Debtor
 6
     has a duty to file a complete schedule of assets and liabilities. 11 U.S.C. § 521(a)(1)(i). Debtor has not
 7
     done this. In the supplemental objection, the Trustee requests that Debtor immediately file a complete
 8
     Schedule A/B and states that without the complete Schedule A/B the Trustee is unable to evaluate the
 9
     proposed plan for compliance with 11 U.S.C. § 1325(a)(4). Other than the contents of the filed plan
10

11   and filed Schedule A/B, there is nothing evidentiary about these issues raised by the Trustee.

12          The Trustee referenced the filed objection of creditor Tammy Winters to reflect the materiality

13   and context of Debtor’s failure to disclose in Schedule A/B. There are missing disclosures regarding
14
     business assets in Schedule A/B. Creditor raises the issue of valuation of business assets in her
15
     objection. The Trustee appearing and being heard on the issue of whether Debtor has met his burden
16
     under § 1325(a)(4) is the real issue here. If, after a complete Schedule A/B is filed, the Trustee
17
     determines to object to confirmation based on the business assets and liquidation value, the Trustee will
18
     at that time have the opportunity to support that objection with admissible evidence.
19

20          The evidentiary objections contained in the Motion to Strike with regard to the Trustee’s

21   supplemental objection should be overruled.

22   Dated: June 13, 2022                              /s/ Brian D. Wirsching
                                                       Staff Attorney for
23
                                                       Amrane Cohen, Chapter 13 Trustee
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

770 The City Drive South, Suite 3700, Orange, CA 92868

A true and correct copy of the foregoing document entitled (specify): CHAPTER 13 TRUSTEE’S OPPOSITION TO
DEBTOR’S MOTION TO STRIKE SUPPLEMENTAL OBJECTION will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/13/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Amrane Cohen efile@ch13ac.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
RICHARD G HESTON, ESQ RHESTON@HESTONLAW.COM
                                                                                       ☐ Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) 06/13/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                     Ricky Dean Winters
                     228 N. Clark Street
                     Orange, CA 92868




                                                                                       ☐ Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. ERITHE A. SMITH
                                                                                       ☐ Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  06/13/2022                     Reyna Patrick                                                   /s/ Reyna Patrick
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
